Case 2:04-cv-02389-.]PI\/|-tmp Document 34 Filed 08/01/05 Page 1 of 2 \_.rPage|D 63

IN THE UNITED sTATEs DIsTchT "LED ar ,
WESTERN DISTRICT 0F TENNESSEE - WESTERN unusch *"“" °'C-

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ARTURO AGUIRRE CRUZ, lndividually )
And as Next of Kin to MAXIMINO )
AGUIRRE, neceased; MARI'A LUZ )
VENEGAS ESTRADA, lndividually, as )
Next of Kin to MAXIMINO AGUIRRE, )
Deceased and on behalf of MARITZA )
AGUIRRE VENEGAS, a minor; and )
AURELIANO vALDEs BLAS, )
lndividually, )
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Plaintiffs,
Vs.
FORD MOTOR COMPANY

Defendant. CASE NO. 2:04-cv-2389-MI/P

OLDE_R
This Court has before it, the Consent Motion to extend the Scheduling Order to allow the
Plaintiffs until September 2, 2005, and Defendants until October 31, 2005 , to produce the expert
reports. This Motion is being presented by consent of the parties and is unopposed.
IT IS ORDERED, ADIUDGED AND DECREED, that the Court’s Scheduling Order in
this matter will be modified pursuant to this Order to allow the Plaintiffs until September 2,
2005, and Defendant until October 31, 2005, to produce the expert reports. All other deadlines
in the Court’s Scheduling Order will remain in place.
-v--~'t
M%
The Honorable MTu M. Plu.w~`.
United States ll@%c§\;-[CE*t-Judge
For the Weste ct o Tennessee

Dated this day of July, 2005,

Thls document entered on the docket sheet |n compliance 1
with Ru|e 58 andfor 79(3) FRCP on ’ ’C’€)

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CV-02389 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

